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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY
                            Frankfort Division

DANIEL DAVIS , individually               )
and on behalf of himself and all          )
others similarly situated,                )
                                          )
             Plaintiff                    )     Case No. ____________
                                          )
v.                                        )
                                          )     Electronically filed
OMNICARE, INC.;                           )
HOME CARE PHARMACY, LLC;                  )
D&R PHARMACEUTICAL                        )
SERVICES, LLC;                            )
THREE FORKS APOTHECARY, LLC;              )
                                          )
             Defendants                   )


                                   COMPLAINT

                                   Introduction

1.    Plaintiffs and putative class members drove thousands of miles from their

Kentucky bases delivering pharmaceuticals and supplies for Defendants.

Defendants falsely classified Plaintiffs as independent contractors while exerting

complete control over their work duties and methods, and requiring them to sign

non-compete agreements to prevent them from driving for any other entity.

Because Defendants falsely classified Plaintiffs, they paid Plaintiffs and the

putative class on a flat fee basis without reimbursement for any of the vehicle costs

associated with the deliveries. Due to this illegal payment scheme, Plaintiffs and

putative class members earned far less than minimum wage and were denied

overtime pay. They now file this action to recover from Defendants unpaid and
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underpaid wages as well as vehicle costs, unlawful deductions and unpaid taxes

pursuant to KRS 337, et seq. and the Fair Labor Standards Act, 29 U.S.C. § 201, et

seq.

                                     PARTIES

2.     Plaintiff Daniel Davis, who resides in Jessamine County, Kentucky,

performed delivery services for some or all of the Defendants between September

2014 and October 2017. Davis also dispatched drivers for some or all Defendants in

this action.

                         Omnicare and its subsidiaries

3.     Defendant Omnicare, Inc. is a for-profit corporation organized in Delaware

with its principal place of business in Ohio. Omnicare does business throughout the

Commonwealth of Kentucky.

4.     Defendant Home Care Pharmacy, LLC is a for-profit corporation organized in

Delaware with its principal place of business in Ohio. Home Care is a wholly-owned

subsidiary of Omnicare, Inc. Home Care does business throughout the

Commonwealth of Kentucky.

5.     Defendant D&R Pharmaceutical Services, LLC is a for-profit limited liability

company organized in Kentucky with its principal place of business in Ohio. D&R is

a wholly-owned subsidiary of Omnicare, Inc. D&R does business throughout the

Commonwealth of Kentucky.

6.     Defendant Three Forks Apothecary, LLC is a for-profit limited liability

company organized in Kentucky with its principal place of business in Ohio. Three



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Forks is a wholly-owned subsidiary of Omnicare, Inc. Three Forks does business

throughout the Commonwealth of Kentucky.

7.       Omnicare and its three subsidiaries – Home Care, D&R, and Three Forks

(Omnicare Subsidiaries) – operate as a single entity (collectively, Omnicare) and are

otherwise jointly and severally liable for the claims asserted in this Complaint.

Omnicare ultimately owns 100% of the shares of Home Care, D&R, and Three

Forks.

8.       The Omnicare Subsidiaries are instrumentalities and alter egos of Omnicare,

Inc. such that the Court should pierce the corporate veil between the entities.

9.       Further, Omnicare is liable for the claims asserted in this Complaint due to

its own direct involvement in the facts at issue and as a joint employer of Davis and

members of the putative class.

                            JURISDICTION AND VENUE

10.      As set forth below, Defendants operate multiple distribution centers within

Kentucky as bases of their operations. Plaintiffs and putative class members are

based at a distribution center but travel throughout the Commonwealth and

neighboring states, making deliveries on Defendants’ behalf.

11.      These delivery routes include travel throughout eastern Kentucky, including

counties within this Division; thus, some of the unlawful conduct complained of

herein occurred in this Division and District.

12.      This Court has jurisdiction pursuant to 29 U.S.C. § 216.

13.      The amount in question exceeds this Court’s jurisdictional minimum.



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14.   This Court has jurisdiction and venue is appropriate.

                                       FACTS

15.   Omnicare is a pharmacy that sells and delivers prescription medications and

medical devices to nursing homes, medical facilities, and homes across the United

States. These items are only available by delivery; thus delivery is an integral part

of Omnicare’s business.

16.   Omnicare holds a competitive bidding process for provision of delivery

services in specific regions of the United States. As part of this process, Omnicare

develops the routes delivery drivers must run in a particular region and includes

them in its requests for proposal.

17.   The lowest bidder receives all Omnicare’s delivery work in that particular

state or region.

18.   As a result of the bidding process, Omnicare selected Act Fast Delivery of

Kentucky to deliver Omnicare products to customers in Kentucky.

19.   Act Fast entered into an agreement with Omnicare to deliver Omnicare

products to customers throughout Kentucky. Omnicare is Act Fast’s largest

customer.

20.   Omnicare operates three regional distribution centers located in Lexington,

Ashland, and Beattyville, Kentucky. Act Fast provides delivery services for these

distribution centers.

21.   Act Fast hires drivers to deliver Omnicare products in Kentucky. While

nominally working for Act Fast, these drivers make deliveries on behalf of



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Omnicare from Omnicare facilities to Omnicare customers when and where

Omnicare directs them to do so and in the manner Omnicare requires.

22.   Plaintiffs and members of the putative class (collectively, Drivers) use their

personal vehicles to make deliveries for Defendants’ benefit.

23.   Upon information and belief, Defendants employ more than 100 individuals

as Drivers based in Kentucky.

24.   Drivers make regularly scheduled deliveries to Omnicare’s customers

travelling routes set by Omnicare. After completion of the route, Omnicare requires

Drivers to return to their assigned regional distribution center to return Omnicare’s

boxes, bags, totes, and paperwork.

25.   Defendants pay Drivers a flat, predetermined rate for each route. When

calculated as an hourly rate, these flat rates result in a sub-minimum wage to

Drivers.

26.   Drivers also make stat runs, which are individual deliveries from Omnicare

facilities to Omnicare customers made on an expedited, emergency, and ad hoc

basis. Drivers are required to be on-call on regular schedules to make such stat

runs. Omnicare directs when and where Drivers make stat runs. Defendants

typically pay Drivers approximately 70 cents per mile one way for stat deliveries,

although some short stat runs are paid on a flat fee basis. Defendants calculate the

mileage for stat runs, which is often less than the actual number of miles driven.

27.   At some times relevant to this Complaint, Defendants also employed

dispatchers who assigned Omnicare’s stat run orders to Drivers. Defendants



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required Dispatchers to perform delivery services as Drivers, even while

dispatching other Drivers. Some Dispatchers not only assigned stat runs in the

relevant Kentucky area, but also for Act Fast affiliates in Texas.

28.   Drivers routinely work in excess of 40 hours per week, but are not paid at the

overtime rate for these hours.

29.   Defendants misclassified Drivers as independent contractors as a part of a

fraudulent scheme to avoid their wage payment obligations under Kentucky’s wage

and hour laws.

30.   The employer–employee relationship between Defendants and Drivers is

evidenced by the following:

      a. Defendants require Drivers to follow specific routes to deliver products

         and specify the exact time to drive those routes.

      b. Defendants control the method Drivers used to electronically report their

         deliveries at each stop and mandate compliance with that method.

         Defendants additionally require Drivers to complete specific paperwork at

         each stop.

      c. Defendants do not permit Drivers to negotiate a fee for their services.

      d. Defendants issue Drivers a daily work schedule with the Driver’s

         scheduled routes for the day. Defendants do not permit Drivers to reject

         these assignments or any stat runs assigned to them.

      e. Defendants require Drivers to wear a uniform imprinted with Act Fast’s

         logo.



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      f. Defendants require Drivers to sign a non-compete agreement, prohibiting

          them from working for any competitors.

      g. Defendants’ application materials refer to Drivers as Employee[s] and to

          Act Fast as Employer.

      h. Defendants require Drivers to fill out a USCIS Form I-9 to verify their

          employment eligibility, which is only required for employees.

31.   As employees, Drivers are not exempt from overtime or minimum wage

requirements as set forth in KRS 337, et seq. or the FLSA, 29 U.S.C. § 201, et seq.

32.   Act Fast and Omnicare are joint employers of the Drivers as evidenced by,

but not limited to, the following:

      a. As set forth previously, Omnicare directs, controls, and supervises the

          way that Drivers perform their work. This level of control is expressly

          contemplated in the contract between Omnicare and Act Fast.

      b. Due to the level of control Omnicare exercises over the Drivers, it knows

          or should know that Act Fast is unlawfully underpaying the Drivers and

          misclassifying them as independent contractors, all on Omnicare’s behalf.

      c. Upon information and belief, Omnicare is Act Fast’s only customer in the

          Ashland and Beattyville areas and is Act Fast’s largest customer in the

          Lexington area, representing nearly all deliveries in that area. Thus, if

          Omnicare were to stop using Act Fast in Kentucky, Act Fast would go out

          of business, as has happened in other states and regions when Omnicare

          stopped contracting with Act Fast.



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33.   In the course of using their own vehicles for Defendants’ benefit, Drivers

incur various necessary and required costs, including but not limited to gasoline,

vehicle parts and fluids, automobile repair and maintenance services, insurance,

and depreciation. Drivers incur vehicle rental fees when their own vehicles are

unusable, as they are not permitted to reject routes or stat runs. Collectively, all

such costs are referred to herein as Vehicle Costs.

34.   Defendants do not reimburse Drivers for Vehicle Costs.

35.   In addition, Defendants require Drivers to provide kickbacks to Defendants

in the form of unreimbursed Vehicle Costs. Because of Defendants’ failure to

account for these kickbacks, Drivers’ wages are not paid free and clear as required

by law.

36.   This underpayment is further compounded by Defendants’ unlawful

deductions from Drivers’ wages, including but not limited to deductions for payroll

processing fees and data transfer fees (collectively, Unlawful Deductions).

37.   Defendants also unlawfully charge Drivers for expenses solely for

Defendants’ benefit. These expenses include, but are not limited to, uniforms and

employment screening fees (collectively, Unlawful Expenses).

38.   Defendants also unlawfully fail to withhold income taxes, payroll taxes, FICA

taxes, and other required payments (collectively, Required Deductions) for the

Drivers’ benefit.

39.   Thus, at all relevant times, Defendants:




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      a. Failed to pay the minimum wages for all hours worked (including wait

         time, on call time, and all other hours worked but not counted);

      b. Failed to pay at least 1.5 times the regular or minimum wage rate for

         hours worked in excess of 40 per week (including wait time, on-call time,

         and all other hours worked but not counted);

      c. Failed to reimburse for Vehicle Costs and other such kickbacks such that

         Drivers were paid below legal minimums;

      d. Withheld the Unlawful Deductions such that Drivers were paid below

         legal minimums;

      e. Charged the Unlawful Expenses such that Drivers were paid below legal

         minimums; and

      f. Failed to make Required Deductions.

             CLASS AND COLLECTIVE ACTION ALLEGATIONS

40.   Upon information and belief, the class includes more than 100 individuals.

Although too numerous to join individually, the class members are identifiable

through employment records.

41.   There are common questions of law and fact to the class. Each class member

was subject to Defendants’ common scheme of systematic underpayment and lack of

reimbursement of kickbacks during the relevant period. While Drivers were paid

different amounts for different routes, all such routes underpaid each Driver as a

result of this common scheme.




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 42.       Further, as described above, all class members were subject to the same

 Unlawful Deductions, Unlawful Expenses, and lack of Required Deductions

 pursuant to Defendants’ standard Driver payment policy.

 43.       Further, as described above, all class members were subject to Defendants’

 control rendering them employees of both, not independent contractors.

 44.       The claims of the representative party, Davis, are typical of the class

 members. Davis was subject to the same common scheme regarding underpayment,

 failure to reimburse kickbacks, Unlawful Deductions, Unlawful Expenses and lack

 of Required Deductions as the members of the class. As such, his claims are

 identical to the class.

 45.       The representative party will fairly and adequately represent the interests of

 the parties. Plaintiff Davis has agreed to serve as class representative if a class is

 certified and accepts his obligation to act in the best interest of the class.

 46.       The proposed Class is also appropriate because questions of law or fact

 common to Class members predominate over any questions affecting only individual

 members. Further, proceeding as a class is superior to other available methods of

 fair and efficient adjudication of the controversy. Questions of law and fact

 predominate as every Class member was subject to identical efforts by Defendants’

 to impose their unlawful wage practices upon them. Further, absent treatment as a

 class, Class members would be required to file individual lawsuits throughout the

 Commonwealth to vindicate their rights under KRS 337, et seq. and 29 U.S.C. § 201,

 et seq.



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 47.      As alleged herein, the proposed Class is also appropriate because Defendants

 have acted or refused to act on grounds that apply generally to the Class, so that

 final declaratory and/or injunctive relief is appropriate respecting the Class as a

 whole.

 48.      As such, pursuant to Fed. R. Civ. P. 23, the Class is properly defined as

 follows (the “Class”):

                All current and former delivery drivers or dispatchers
                classified as independent contractors who were based at a
                Kentucky distribution center and performed work for
                Defendants from November 15, 2012 to the day the Court
                authorizes notice.

                          COUNT I: UNPAID MINIMUM WAGES

 49.      Defendants’ conduct as set forth in this Complaint violates Kentucky and

 federal minimum wage and overtime requirements, including but not limited to

 KRS 337.275, 337.285, 29 U.S.C. § 206, and 29 U.S.C. § 207.

 50.      Pursuant to KRS 337.385 and 29 U.S.C. § 216, each and every member of the

 Class is entitled to recover all unpaid minimum wages, overtime wages, Vehicle

 Costs and other kickbacks, Unlawful Deductions, and Unlawful Expenses, as well

 as unpaid Payroll Deductions.

 51.      Additionally, pursuant to KRS 337.385 and 29 U.S.C. § 216, each and every

 member of the Class is entitled to recover liquidated damages in an amount equal

 to their unpaid wages damages as well as all attorney’s fees, costs, and other

 expenses associated with bringing this action. Each and every member of the Class

 is also entitled to pre- and post-judgment interest on all monetary awards.



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               COUNT II: UNLAWFUL PAYROLL DEDUCTIONS

 52.   Defendants’ conduct as set forth in this Complaint violates KRS 337.060,

 Kentucky’s statutory prohibition on payroll deductions.

 53.   Pursuant to KRS 337.385, each and every member of the Class defined above

 is entitled to recover liquidated damages in an amount equal to these unlawful

 deductions as well as all attorney’s fees, costs, and other expenses associated with

 bringing this action. Each and every member of the Class is also entitled to pre- and

 post-judgment interest on all monetary awards.

                       COUNT III: UNJUST ENRICHMENT

 54.   Defendants were unjustly enriched by the shifting of a portion of the cost of

 doing business onto Drivers. Such costs include, but are not limited to, Drivers’

 Vehicle Costs and other kickbacks, Unlawful Deductions, and Unlawful Expenses.

 55.   Each and every member of the Class is entitled to restitution for all of

 Defendants’ costs or fees that have been levied upon them, including but not limited

 to the Unlawful Deductions and Unlawful Expenses. Each and every member of the

 Class is also entitled to pre- and post-judgment interest on all monetary awards.

                              REQUEST FOR RELIEF

       Wherefore, Davis, individually and on behalf of all those similarly situated,

 respectfully requests the Court provide the following relief against Defendants:

       a. Compensatory damages;

       b. Liquidated damages;

       c. Pre- and post-judgment interest;



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       d. Attorney’s fees, costs, and all other expenses associated with bringing

          these claims;

       e. Injunctive relief requiring Defendants to fully comply with the applicable

          wage and hour laws;

       f. Injunctive relief preventing Defendants from retaliating against any

          Driver associated with bringing these claims;

       g. Trial by jury on all claims so triable; and,

       h. Any and all other relief the Court deems proper.



                                         Respectfully submitted,

                                         CRAIG HENRY PLC

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